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1    LAW OFFICES OF CHRIS COSCA
     CHRISthCOSCA        CA SBN 144546
2    1007 7 Street, Suite 210
     Sacramento, CA 95814
3    (916) 440-1010
4    Attorney for Defendant
     KEWAL SINGH
5

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8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                        )   2: 12-CR-00180 MCE
                                                      )
13                   Plaintiff,                       )   WAIVER OF DEFENDANT KEWAL
                                                      )   SINGH’S APPEARANCE AND ORDER
14          vs.                                       )
                                                      )
15   KEWAL SINGH,                                     )
                                                      )
16                                                    )
                                                      )
17                   Defendant.                       )
                                                      )
18                                                    )

19

20
            Defendant KEWAL SINGH hereby waives his right to be personally present in open
     court for the hearing of any status conference, motion or other proceeding in this case, except
21
     that he will agree to be personally present for any plea, sentencing or jury trial, and he agrees to
22

23
     be personally present in court when so ordered.

24
            Defendant KEWAL SINGH hereby requests the court to proceed in his absence.

25
     Defendant agrees that his interests will be deemed represented at all times by the presence of
     his undersigned attorney, the same as if he were personally present. Defendant further agrees to
26
     be present in court ready for trial on any date set by the court in his absence.
27

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     ///



                                    Waiver of Defendant’s Appearance
                                              USA v. SINGH
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1                           Defendant further acknowledges that he has been informed of his rights under the
2    Speedy Trial Act (Title 18 U.S.C. Sections 3161 – 3174), and he has authorized his
3    undersigned attorney to set times for hearings and to agree to delays under the provisions of the
4    Speedy Trial Act without him being personally present.
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7
     Dated: September 18, 2012                                          Respectfully submitted,
8

9

10                                                                      /s/ Kewal Sing __________________
                                                                        KEWAL SINGH
11
                                                                        Defendant
12

13
                                                                        _/s/ Chris Cosca _______________
14
                                                                        CHRIS COSCA
15                                                                      Attorney for Defendant,
                                                                        KEWAL SINGH
16

17
                                                               ORDER
18

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20
                            IT IS SO ORDERD.

21   Dated: September 19, 2012

22                                                           __________________________________
23
                                                             MORRISON C. ENGLAND, JR
                                                             UNITED STATES DISTRICT JUDGE
     DEAC_Signat ure-END:




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                                                  Waiver of Defendant’s Appearance
                                                            USA v. SINGH
